IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
CHARLOTTE DIVISION

Civil Action No. ]2-cv-818

 

 

NEFERTIT1 JAMES, )
)
Plaintiff, )
)
Vv. ) NOTICE OF REMOVAL
)
)
BANK OF AMERICA CORPORATION, )
)
Defendant. }
)
EXHIBIT 1
(Verified Complaint)

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FILED

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| | ded ROY fT 4 “SUPERIOR COURT DIVISION
COUNTY OF MECKLENBURG. «,, - none conyry eee! 12-C¥S8-19063

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NEFERTITI JAMES, ny

STATE OF NORTH CAROLINA

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Plaintiff, .
v. . VERIFIED COMPLAINT

BANK OF AMERICA CORPORATION,

 

Defendant.
‘COMES NOW Plaintiff Nefertiti James (‘James” or “Plaintiff) and hereby complains of

the Defendant Bank of America Corporation (“BAC” or “Defendant’’) and alleges as follows:

NATURE.OF ACTION

1. James, a former employee of BAC, brings this action against BAC based on her
complaints of racia] harassment, discrimination, and retaliation in violation of Title VII and 42
USC, § 1981. She alleges causes of action for race discrimination and retaliation, wrongful
termination in violation of public policy, negligent Tetention, negligent supervision, and
negligent infliction of emotional distress. She seeks ‘compensatory, liquidated, special and

punitive damages, as well as injunctive relief.

 

JURISDICTION AND.PARTIES
2. James is a citizen and resident of Charlotte, Mecklenburg County, North Carolina.
3. Upon information and beliéf, BAC is a Delaware Corporation, with its principal

office and place of business in Charlotte, Mecklenburg County, North Carolina.

ADMINISTRATIVE PROCEDURES

 

4, James timely filed a Charge of Discrimination against BAC with the Equal

Employment Opportunity Commission (“EEOC”) on or about April 15, 2011 for race

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discrimination and retaliation. James timely filed a second Charge of Discrimination against
BAC with ‘the Equal Employment Opportunity Commission (“EEOC”) on.or about December
13, 2011 for disability discrimination. and retaliation, which was then amended on April 10, 2012
to include race and disability discrimination and retaliation.

5. On or about July 20, 2012, James received a “notice of right to sue" for each of
her two charges of discrimination from the EEOC entitling her to commence this action within
90 days of her receipt of that notice.

6. James filed an Application for Extension of Time to File Complaint with the
Mecklenburg County Clerk of Court on October 18, 2012 and received an Order extending time .
to file the Complaint uritil Novémber 7, 2012.

7. James has satisfied all private, administrative and judicial prerequisites to the
institution of this action.
BACKGROUND

8. James was Hired by BAC's predecessor, Countrywide Financial Corporation
(“Countrywide”’) on March 1, 2004 as a Funding/Post Closing Coordinator or “loan closer.”

| 9. BAC acquired Countrywide in 2008. |

10. James excelled in this position and was later transferred to a Home Services
Specialist II or “loan processor” position on or about January 3, 2011.

| 11. ‘Th her new position, James' Team Manager (“Team Manager’) was a white |
feitiale. James, who is a black female, felt that Team Manager tréated her differently than her
white coworkers.

12, Indeed, Team Manager racially segregated the loan processor employees by

placing black employees in one set of cubicles and the white employees in another set of

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cubicles. Additionally, Team Manager moved the one white employee who was friends with and
seated among the minority employees to a cubicle in the white section.

13, Upon information and belief, Team Manager harassed and discriminated against
other blacks and othérs who associated with them and attempted to intimidate and abuse them.

14. James specifically requested adequate training before she agreed to accept the
Ioan processor position, The Assistant Branch Manager (“Assistant Branch Manager”) (black)
promised: her that she would receive the requested training, However, James was not given
adequate training to petform her new role with BAC despite her repeated requests. When BAC
would not provide formal training, she asked for assistance from friends and coworkers, Despite
the lack of training, James was tied for the highest number of loans on her team in April 2012.

15. BAC not only failed to provide James with the training that James needed to
succeed in her new role, but Team Manager harassed and humiliated James based on her race in
front of coworkers by yelling at hér, setting unreasonable tasks and goals, not providing adequate
training, singling her out, making her do the work of her white coworkers, and giving her
problem leans and difficult customers. .

16. When Team Manager harassed James and instructed her to take on the workload
of white coworkers, it was to the detriment of her own work, since she was not allowed to work -
overtime, |

| 17. Upon. information and belief, white employees were white allowed to work
overtime.

18. On February 28, 2011, James sent an email to Assistant Branch Manager, asking
if they could schedule some time to meet and talk in private. Assistant Branch Manager did not

respond to James’ email.

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19. Team Manager treated James in a condescending and demeaning-manner based
on her race. On March 2, 2011, Team Manager screamed at James across the room in front of
her entire team. Team Manager barked orders for James to finish a loan for a coworker who was
out of the office on sick leave. James felt enormous pressure in her new position since she
lacked the necessary training to complete her tasks. James became stressed and anxious when
Team Manager harassed and called her out in front of others.

20. James. pushed through and met the deadtine on ‘the Loan which had been. the
responsibility of a coworker out on sick leave.

21. At approximately 11:00 am., James asked Assistant Branch Manager again if
they could meet, Assistant Branch Manager replied that he was busy and would let her know
when: he-had amoment. He said if it was an emergency to let him know, J ames responded and
recounted: the incident in which Team Manager yelled and belittled her in front of others and
agin réiterated. that she-lacked adequate traitiing to fulfill her job duties. James stated, “You
promised that T'wouldn't be just thrown into this and I dont [sic] like to half step 1 take my job
serious.” James also informed Assistant Branch Manager that Team Manager was “yelling and
screaming” at her, and it was “really bothering” her.

22. After reporting the incident with Team Manager to Assistant Branch Manager,
James saw. some improvement in office interactions, but it was short lived. Team Manager
continued to sirigle out Jarnes and criticized her for manor things.

23. Additionally, Team Manager discriminated against James by forcing her to assist
6the white loan processors with their tasks so they could meet their goals, but which prevented
her from excelling in her own goals, For instance, On April 5, 2011, a white coworker and

friend of Team Manager, told James that per Team Manager, James was supposed to help her

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with her loans, even though James had a busy day herself and submitted two loans to closing.
James assisted the white coworker to the best of her ability but was unable to meet the
coworker’s unreasonable expectation that James finish the work beforé day’s end. Accordingly,
James spent most of the next day assisting the coworker, thereby neglecting her own loans and
workload. |

24. - Ori the following days, April 6 and April 7, James again spent time assisting the
samé white coworker and another temporary assistant, also white, with their respective files, in
addition to a handling problem files reassigned to J ames, |

25, At the end of the day on April 7", James asked Team Manager if she could stay
an additional 15 minutes to finish up some of her welcome calls, which were tasks that’ she

.feedéd to complete on her own loans. In response, Team Manager denied James’ request and
interrogated James for failing to manage her time during the day, although Team Manager knew
or should have known that James was assisting white coworkers as directed by Team Manager.

26. At 6:08 p.m. on‘ April 7, 2011, Team Manager sent James an email stating it was
Teatn Manager’s second request for James to complete her welcome calis, when James had not
received a first request from Team Manager.

27. On April 8, 2011, shortly before 10:00 a.m., James asked a coworker about a
particularly complicated loan that Team Manager had assigned to her from the coworker at noon
the provious day (“the Loan”). Iames asked the coworker to provide her with the background of
the Loan’s process to date. _

28. . The coworker was upset when she learned that the Loan was reassigned to James

because she had already put a lot of work into the Loan ahd the customer was difficult. The

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coworker warned James that the customer would be irate if she knew the Loan was reassigned to
another individual.

29. At 10:00 a.m., James seceived an email from Team Manager telling her to contact
the customer by noon to give her an update on the Loan. About fifteen minutes later, Team
Manager yelled across the room asking James if she had contacted the customer yet, to which
James resporided she had not. Then fifteen minutes later, Team Manager again screamed at
Jamies needed to call the borrowei, “right now.”

30. At 10:27 a.m., Team Manager sent James another email instructing James to let
her ktiow when she talked-to the customer.

31. At this point, James was terrified. She was shaking and the back of her head was
throbbing, and she began to cry. James’ coworker recognized James’ distress and suggested they
take a walk.

32. Before she left, at 10:47 am. James replied to Team Manager’s initia] email and
said that she would call the customer before noon. James also told: Team Manager that she was
not feeliig well and needed to go to the emergency room. As J ames was getting up to go on her
break and take a walk with the coworker, Team Manager continued to berate James and ordered
James into hér office. Upon seeing James’ distress, the coworker and another manager assisted
Jamies outside and informed Team: Manager that she could not talk at that time.

33, When she went outside James saw the Branch Manager (“Branch Manager” of
Area Operations Center 478 (“AOC”) and Team Manager’s supervisor. James explained to
Branch Manager that she was not feeling well.

34.  Brarich Manager recognized James’ distress, as well, and convinced her to Bo to

the hospital for treatment.

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35, | James did not feel comfortable divulging the entire incident with Team Manager
to Branch Manager. because Team Manager and Branch Manager were personal friends outside
of work. | |

36. When James arrived at the hospital, her heart rate was up and her head was
pounding. The treating physician said that the increased heart rate and headache were due to
stress. She was given a prescription for medication fo treat her stress and anxiety. The physician
told. Her to follow up with her primary: caré doctor or a psychiatrist. James then went home to
rest.

37. ‘Later that evening when James checked her voicemail, she had a message from
Team Manager, who called James from. her personal cell phone, telling Her that she needed a
doctors. note to return to work, Rather than call to check on James’ well being, Team Manager
called to harass James further and cauise additional stress and anxiety.

38. James went in to work on Saturday, April 9, 2011 to email Assistant Branch
Manaper aliout the incident the previous day and about her need for medical leave until she
followeil ‘up with her doctor on April 13, 2011. In the email James said, “I came to you before
and said that I can’t take her hollering at me, The screaming, hollering, bullying; lies, and
hatassment has got to stop. That’s not managing its abuse.” James also explained that Tear
Maiiager expected her to do a white coworker’s work and keep up with her own. James asked
Assistant Branch Managet to ask Téam Manager not to call her because she needed to avoid al]
stress, but she asked hitn to call her.

39. On Monday April 11, 2011, James contacted Advice and Counsel and spoke with

a representative (“Advice and Counsel 1”). James reported that she felt that she was being

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harassed and discriminated against because of her race. Instead of initiating an investigation into
her coniplaint, Advice and Counsel 1 teferred James back to Assistant Branch Manager.

40. James was discouraged by this since BAC’s policy states that if an employee does
not feel comfortable going to management with complaints, the employee should contact Advice
and-Couhsel.

41. Advice and Counsel ] ignofed James’ complaint. Despite this, James followed up
with Assistant Brarich Manager per Advice and Counsel] 1’s direction. She left him a voicemail

to call her back. | |

42. Having lost faith in the Company and exhausting internal remedies, James filed a
Charge of Discrimination with the EEOG on April 11, 2011.

43. On April 12, 2011, James visited her primary care physician, who advised her to
take a medical leave because of her stress. | |

44. James took medical leave on or about April 12, 2011 due to stress on the job, The
following day, April 13, 2011, James went to see a psychiatrist who wrote her out of work due to
stress and referred tier to an oufpatient day treatment program.

45, James applied for short-term disability and contacted Assistant Branch Manager
and ‘Feam Manager to ailvise them of the leave.

46, On April 14, 20lt, Branch Manager contacted Jamies to inform her that BAC was
laying her off. Branch Manager said that she had James’ package arid tried to explain the
severance plan to her. Braich Manager then said that she needed to contact HR to determine
how to proceed in light of James’ medical leave.

47. A few minutes later, Branch Manageér called James back and said that the layoff

was effective as of April 14, 2011, regardless of James’ leave of absence.

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48. James then contacted HR, who advised her to speak with Advice and Counsel.
HR transferred James to Advice and Counsel | to discuss the situation, Advice and Counse] |
informed ier that BAC could not terminate her employment while she was on a leave of absence
antl that Assistant Branch Manager should have contacted her to inform her of this and to follow
up about the incident, but he did not.

49, J ames told Advice and Counsel | during this call that she believed that her lay off
was the résult of racial discrimination.

50, When James started her leave of absence and BAC selected her for termination,
she and a coworker were tied for the most loans in closing,

51. Additionally, shortly before her selection for layoff, James received two global
recognitigns, which Team Manager informed her no one else had ever achieved, Further, James
consistendy received great reviews and raises, was never written up, and processed quality loans.

52. Despite her pérformance and exemplary work history with BAC, James was
targeted for Jay off after réporting Team Manager’s racial harassment, discrimination, ard hostile
work environment to management and Advice and Counsel. and in retaliation for filing a Charge
of Disciimination with the EEOC,

53. On April 15, 2011, James received the severance package at her home via Federal
Express. Upon receipt, she contacted Advice and Counsel | again. During the conversation,
James told Advice and Counsel 1 that she complained about harassment and discrimination long .
before her termination. Jamés reminded Advice and Counsel | that the last time Jamés asked
Advice and Counsel 1 for assistance, Advice and Counsel | referred ber back to Assistant
Brafich Manager, who did not réturn her phone call. J ames also reminded Advice and Counsel |

of the BAC policy that stated if an employee was having problems that she felt management

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could not assist or if she felt uncomfortable talking with management, she could turn to Advice
and Counsel] at anytime, James told Advice and Counsel | she would send her more detailed
information, which she sent her by email. James also sent the information to another HR
representative.

54. In the detailed: information that James provided to Advice and Counsel, James
said, “I am sending you this letter to advise you of the things that have been occurring on my
team. I have not been trained properly, have been screamed at, and have been lied on [sic],

harassed, bullied, humiliated, traumatizéd and stressed out. I do believe that I am being
discriminated against dué to my race because she only hollers and scream [sic] at all the blacks
and one white female who hung around us. Even when I would try to get proper training, she
would not follow through. Even when I would have work of my own, she would make me assist
some of thé other. white co-workers but would never ask me to assist the black workers.”

55, Upon information and belief, the day after James was notified of her termimation,
BAC, through its management employees, hired a white temporary employee into a permanent
position. Upon information and belief, management tried to push the permanent hire through
quickly so that nobody would realize she was hired after permanent employees were laid off.

56. Upon information and belief, all temporary employees in AOC 478 should have
been released before permanent employces were laid off.

57, James assisted and coached this temporary employee on many otcasions. Upon
inforniaticn and belief, this temporary employee did not perform as well as J ames,

58. Upon information and. belief, BAC, through its management employees, hited a
sécond white temporary éinployee into a permanent position after laying off black permanent

employees.

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59. On or about April 25, 2011, James interviewed with the outpatient partial day.
treatment center and thereafter-attended a three week treatment program for anxiety.

60. In May 2011, James contacted Advice and Counsel to follow up on her prior
_ complaint. Advice and Counsel 1 was out of the office so James spoke with another
representative (“Advice and Counsel 2”),

61. ‘During this call, Advice and Counsel 2 mentioned to James that Team Manager
reported J ames for misconduct.and performance issues, Which were untrue.

62. Team Manager's attempt to sully James’ joh performance ahd. character before
terthination was further retaliation for James’ complaint.

63. On May 16, 2011, Advice and Counsel 1 advised James that she was closing her
case.

64. James provided Advice and Counsel 1 with names of coworkers who could
corroborate her complaint. Upon information and belief, BAC did not interview James’
coworkers during the course of its investigation into j ames’ complaint,

65, Upon information and belief, Team Manager was demoted to a Loan Processor
position as a result of her failure to appropriately manage the processing team and later
termitiatéd for a policy violation.

66. On September 21, 2011, James advised BAC that her doctor was releasing her to
return to work on October 13, 2011. James received no response, so she followed up by email
on September 27, 2011. James did not receive a response to her second email either.

67. James’ physician released her to work part-time for two weeks on October 13,

2011, with a follow-up evaluation after that time.

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68. Since James had not received a response to her emails about returning to work, on
or about October 14, 2011, James called the new Operations Manager, Thomas Jatulius, who
instructed her not to return to work becanse she was selected for layoff. However, James was
not provided her severance package until November 7, 2011, James: was paid for the time
between on or about October 14, 2011 and November 7, 2011.

69.  BAC's basis for selecting James. for layoff was pretextual for unlawful race
discrimifiation. and retaliation for reporting unlawful harassment, discrimination, and filing a
Charge 6f Discrimination

70. On November 2, 2011, between the time James was able to return to work and
when. she received her severance package, James received an email from CareerBuilder,com with
a job posting for her prior position, Home Services Specialist Il, at Bank of America.

71. James applied for the advertised Home Services Specialist II position on
December 3, 2011. Despite her qualifications for the position and her positive performance
history at BAC, Jaries. was. not ititterviewed or rehired for the position.

72. Upon information and belief, James is eligible for rehire.

73. Upen information and bélief, James was unlawfully rejected for the position in
favor of someone not a tember of the protected group (black) and in retaliation for filing a
Charge’of Discrimination with the REGC.

74, James also applied for a Senior Loan Closer position at BAC on December 3,
2011, for which she-was qualified because she performed those duties for nine (9) years at Bank
of America. -

75. Despite her qualifications for the position and her positive performance history at

BAC; James was not interviewed or hired for the position,

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76. Upon information and belief, James was unlawfully rejected for the position in
retaliation for filing a Charge of Discrimination with the EEOC.

77. On June 25, 2012, James applied for another Home Services Specialist Tt position
at BAC.

78. On July 12, 2012, James interviewed for the secorid Home Services Specialist II
position; the interview went well. The interviewer informed James that they were looking to hire -
eiglity (80) people. At the end of the interview, the interviewer told James he was foing to talk
to Branch Manager, a white female. Later, the intérviewer informed Jamies that she was not
selected for the position:

79, Upon information and belief, Branch Manager, on behalf of BAC, gave the
interviewer a negative reference of James in retaliation for reporting Team Manager’s
harassment-and discrimination and because of her race, black.

80. James has applied for-a total four (4) positions since she was laid off and has not
been offered any of the positions although she is qualified forthe positions,

BL. “BAC, acting through its managers, employées, and agents, deviated from the
Company's normal anti-harassrent and equal employment opportunity policies when harassed -
aind discriminated against. James and failure to hire James on the basis of her race and in .
retaliation for her prior <harges of discrimination, harassiment, and retaliation.

VE
lination, Harassment, arid Rétaliation)

 

 

82; Plaintiff realleges and incorporates by referencé thé paragraphs above.
83. Upon information and belief, Team Manager is a white female,

84. James is a black female,

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85, Team Manager treated the black employees less favorably than the white
employees. Upon inforthation and belief, Team Manager thought the black employees were
lesser or second class citizens. |

86. Team Manager harassed and intimidated James, treated her differently than her
white counterparts, and evett instructed her to take on their workload.
| 87. When Team Maittager harassed James and instructed her to take on the workload
of white coworkers, it was to thé detriment of her own work, since she was not allowed to work

; overtime.

88: | Upon information and belief, white employees were white allowed to work
overtime. |

89. Team Manager racially segregated the seating of white employees from black or
minority employces.

90. Defendant, through their employees and agents, harassed and treated James

- dispatately compared to other employees because of her race by ignotin & her complaints of racial
discrimination, failing. to adequately investigate James’ complaints of racial discrimination, and
teriitiating her employment after she filed a Charge of Discrimination with the BEOC and
reqitested a leave of abserice due to stress from work.

OL. . Upon information and belief, James’ race was a motivating factor for Defendant’s
actions.

92. James complained to Assistant Branch Manager about Team Manager’s hostile
_ work énvironment, harassment, discrimination, and disparate treatment as well as to Advice and
Counsel 1, Advice atid Counsel 2, and a third person from Advice and Counsel, after her

complaints to Assistant Branch Manager were fruitless.

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93. Upon information and belief, Defendant did not conduct an investigation or did
not condict an adequate investigation into James’ report of racial harassment, hostile work
environment, discrimination, and retaliation,

O4. Upon infottiation and belief, Defendant, through its employees and agents,
retaliated against James for reporting the racial harassment, hostile work environmient, and
discrimination by treating James differently than white employees, disparaging James in the
work: place, fabricating complaints of misconduct and poor petformance against James, selecting
James and other black employees for Jayoff when it was hiring white temporary employees into
permanent positions, and.refusing to hire James for open positions for which she is qualified,

95. On November 2, 2011, James received an email from CareerBuilder.com with a
job posting post for her prior position, Home Services Specialist II, at Bank of America.

96. Jamies applied for the advertised ‘Home Setvicés Specialist I position on
Devember 3, 2011. Despite her qualifications for the position and her positive performance
history at BAC, James was not interviewed or rehired for the position.

| 97. Upon information and belief, James was unlawfully rejected for the position in
retaliation for filing a Charge of Discrimination with the EEOC.

98, James also applied for a Senior Loan Closer position at BAC on December 3,
2011, for which she was qualified because she performed those duties for nine (9) years at Bank
of Ametica.

99. Despite ‘her qualifications for the position and her positive performance history at
BAC, James was not interviewed or hited for the position.

100. Upon information and belief, James was unlawfully rejected for the position in

retaliation for filing a Charge of Discrimination with the EEOC.

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10}. James has applied for a total four (4) positions since she was laid off and has not —
been offéeted any of thé positions position although she is qualified for the positions.

102. BAC, acting through its managers, employees, and agents, deviated from the
Company’s normal anti-harassment and é¢qual employment opportunity policies and harassed,
intimidated, discriminated, and retaliated against James because of her race and in retaliation for
filing a Charge of Discrimination with the EEOC in violation of Title VII.

103. In so acting, Defendant, through its employees and agents, either intended to
caise, or was recklessly indifferent to the likelihood that its conduct would cause, severe
emotiorial distress to James. |

104, Defendant's conduct, through its employees and agents, did, in fact, cause severe
emotional distress to James, including depression, anxiety, difficulty breathing, crying, pain,
personal distress, difficulty thinking, concentrating, sleeping, and fatigue for which she attended
outpatient partial day treatment. |

105. Defendant's actions, through its employees and. agents, as described above, was
intentional; outrageous and aggtavated, and included actua! malice, oppression, insult, rudeness,
indignity, and a.reckless indifference to James’ rights and interests under Title VIL As a result,
Jarnés is entitled to an award of punitive damages.

106,  Defendant’s conduct, as described above, was without justification ar excuse, was
reprehensible, lasted throughout James’ employment, and occurted despite James’ complaints to
menibers of management and Advice and Counsel, and her efforts to stop the intimidation,

harassment, discrimination, and retaliation.

16,

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107, James is now and will continue to be unlawfully deprived of income in the form
of wages, compensation, and other monetary and non-monetary benefits due to her because of
her race in an amount to be proven at trial.

108. As a result, Jaities is entitled to have and recover all damages resulting from

Defendant's misconduct, in an amount in excéss of ten thousand dojiars ($10,000.00), to be
proven at trial, including compensatory, consequential, special, liquidated, and punitive damages,
reinstatement, injunctive relief to deter sirhilar misconduct in the future, back pay, front pay,
- tlamages for emotional distress, prejudgment interest, reasonable attotneys’ fees, and the costs of

this action.

  

ee ; COUNT TWO
(42 U.S.C. § 1981 - Race Diseriminatiot, Harassinent, Retaliation, and Failue to Hire)

¥

   

109. Plaintiff realleges and iricorporates by reference thé paragraphs above.

110. Team Manager treated the black employees less favorably than the ‘White
empléyees. Upon information and belief, Team Manager thought the black employees were
lesser of second class citizens.

111. Team. Manager harassed and intimidated James, treated her differently than her
white Counterparts, and éven. instructed her to take on their workload to the detriment of her own
work, sinte she was not allowed to work overtime.
| 112. Upon information and belief, white employees were white allowed to work
overtime. | |

113. Team Manager racially segregated the seating of white employees from black or -
minority employees,
| 114. Defendant, through their employees and agents, harassed and treated James

disparately comparéd to other employees because of her race vy ignoring her complaints of racial!

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discrimination, failing to adequately investigate James’ complaints of racial discrimination and
harassment; and retaliating. against her because of her race.

115. James is a mernber of a racially protected class, which is black. ‘eam Manager
and: Branch Manager are white.

116. Upon information and belief, Jarnes’ race was a motivating factor for Defendant’s
actions. |

117. BAC ratified, authorized, or approved Team Manager’s discriminatory acts and is
vicatiously liable for thé aéts and ornissions of Team Manager and Branch Manager. -

118. BAC, acting through its managers, employees, and agents, intentionally violated
42 U.S.C; § 1981 by illegally harassing, intimidating, and discriminating against James,
teritiihating her employinent, and retaliating against James by failing to rehire her because of her
Tace.

119. “Wpon iriformation and belief, J ames was rejected for the positions for which she
applied if favor of persons who are not members of the protected group, black, BAC, through its
inatagers, employcés and agents, viewed whites more favorably than blacks |

120. James has. applied for four (4) positions since she was laid off and has not been
offered a position.

12%. On November 2, 2011, Tames received an email from CareerBuilder.com with a
job: posting; post for her prior position, Home Services Specialist I, at Bank of Ametica.

122. James applied for the advertised Home Services Specialist IC position on
Deceniber 3, 2011. Despite her qualifications for the position and her positive performance

history at BAC, James was not interviewed or rehired for the position,

18

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123. Upon information and belief, James was unlawfully rejected for the position in
favor of someone not a member of the protected group (black).

124. James also applied for a Senior Loan Closer position at BAC on December 3,
2011, fot which she was qualified: because she performed those duties for nine (9) years at Bank
of America.

125, Despite her qualifications for the position and her positive performance history at
BAC, James was hot interviewed or hired for the-position.

126, Upon inforsnation and belief, James was uintawfully rejected for the position in
favor of someone not athember of the protected group (black).

127. On Juang 25, 2012, Jamies applied for another Homie Services Specialist I] position
at BAC anda Workout Specidlist position at BAC, both of which she was qualified to perform.

| 128, On July 12,2012, James interviewed for the Home Services Specialist If position;
the interview went well, The ifiterviewer informed James that they were looking to hire eighty
(80) people. At the end of the interview, the interviewer told James he was going to talk to
Brafich Manager; a white female. After which, J athes was informed she was not selected for the —
position.

129, Upon information and belief, Branch Manager, on behalf of BAC, gave the
intérvieWer a neégitive reférence of James in retaliation for reporting ‘Team Manager’s
harassment and-discrimination and becatise of her race, black.

130. Upon information and belief, James. was unlawfully rejected for the positions she
applied for on June 25, 2012 in favor of persons. who are not members of the protected group

(black).

19.

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131, James has applied for a total four (4) positions since she was laid off and has not
beén offered any of the positions because of her race (black) although she is qualified for the
positions.

132. BAC, acting through its thanagers, employees, and agents, deviated from the
Company’s normal anti-hatassment and equal émployment opportunity policies when it allowed
Téam Manager and Branch Manager to harass and discriminate against James and then retaliated
against-her by failing to hire James on the basis of her Tace.

133.. BAC, acting through its managers, employees, and agents, unlawfully
discriminated against James because of her race in that: a) they subjected James to a markedly
hostile work environment which a reasonable person would find objectively offensive; b) they
treated sittilarly situated white employees differently; and, c) they did not terminate of fail to |
rehire: sithilarly situated white enrployees.

134. The acts and omissions committed by BAC, by and through its managers,
eriployées and agents, were willful, wanton, oppressive, intentional, conscious, and malicious,
anid in-deliberate disregard-of James’ civil rights. —

135. In so acting, Defendant, through its employees and agents, either intended to.
cause, or was recklessly indifferent to the likelihood that its conduct would cause, severe
emotiorial distress to James.

136, Defendant's conduct, through its employees and agents, did, in fact, cdusé severe
emotional distress to James, incliding depression, anxiety, difficulty breathing, crying, pain,
personal distress, difficulty thinking, concentrating, sleeping, and fatigue for which she attended

outpatient partial day treatment.

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137. Defendant's actions, through its employees and agents, as described above, was
‘intentional, outrageous and aggravated, and included actua! malice, oppression, insult, rudeness,
indignity, and a reckless indifference of James’ rights and interests under Section 1981. Asa
result, Jatnes is entitléd to an award of punitive damages.

138, Defendant's conduct, as described above, was without justification or excuse, was
_ reprehensible; lasted throughout James’ employment, and occurred despite James’ complaints to
merribers of management aid HR,. and her efforts to stop the intimidation, harassment,
- distrimination, afd retaliation.
139. James ig now. and will continue to be unlawfully deprived of income in the form
of wages, compensation, and other monetary and non-monetary benefits due to her becanse of
-her race in an amount to be proven at trial. |
140. As a result, Jarties is entitled to have and recover all damages resulting from
Défendant’s tisconduct, in an amount in excess of ten thousand dollars ($10,000.00), to be
proven at trial, iricluding compénsatory, consequential, special, liquidated, and punitive damiages,
reinstateiient, injunctive relief to deter similar misconduct in the future, back pay, front pay,
damages for emotional distress, prejudgment interest, reasonable attorneys’ fees, and the costs of

this action.

  

THREE

=

‘Bélicy — Equal Employment Practices Act) _

  
 

 

(Wrongful Termination in Violation:o BabR?
141. The allegations of the previous paragraphs are realleged and incorporated herein

by reférénce. |
142. After working for BAC as a loan closer, James transferred into a position as a

loan proéessor on or about January 3, 2011.

2t

Case 3:12-cv-00818-MOC-DSC Document 1-1 Filed 12/11/12 Page 22 of 35
143, James’ supervisor, Team Manager, who is a white female, treated J ames, who isa
black fertale, and other minority coworkers disparately,

144; James was harassed and discriminated against because of her race,

145. After complaining about the racial discrimination to management and HR, ahd
filing a Charge of Discrimination, she was terminated. |

146. Defendant, through its employees and agents, harassed, discriminated against,
treated: James dispardtely comparéd to white employees because of her race and terminated her
employment in vidlation of the public policy of North Carolina in the Equal Employment
Practices Act, N.C. Gen. Stat. 143-422.1 et seq. |

147, Defendant, through its employees and agents, terminated Jamies’ employment for
discriminatéry and unlawful reasons. |

148. Defendant treated white employees more favorably than black employees.

149. James has applied for two Home Services Specialist W positions, a Loan Closer
position; and a Workout Specialist position but has not been rehired, despite her qualifications
for the positions and her positive pettidrmance history at BAC,

150. Upon inforination and belief, James was unlawfully rejecied for the positions in
favor of someone not a member of the protected group (black). |

151. Plaintiff's tace was a motivating factor for Defendant’s actions.

152. The acts and omissions committéd by BAC, by and through its managers,
employees and agents, were willful, wanton, Oppressive, intentional, conscious, and malicious,

and in deliberate disregard of James’ civil rights. .

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153, In so acting, Defendant, through its employees and agents, either intended to
cause, or were recklessly indifferent to the likelihood that their conduct would cause, severe
emotional distress to James.

154. Defendant’s conduct, through their employees and agents, did, in fact, cause
severe, emotional distress to James, including depression, anxiety, difficulty breathing, crying,
pain, personal distress, difficulty thinking; concentrating, sleeping, and fatigue for which she
atterided outpatient partial day treatment.

155, Deféridant’s actions, thtough its. employees and agents, as described above, were
intentional, outrageous and aggravated, and includéd’ actual malice, oppression, insult, rudeness,
indignity, and a reckless and wanton disregard of James's rights and interests. As a result, James
is entitled to an award of punitive damages. .

' 156. Defendaiit’s conduct, as desctibed above, was without justification or excuse, was
reprehensible, lasted throughout James’s employment, and occurred despite James’s complaints
to métibers of management and HR and her efforts to. stop the harassment, intimidation,
discrimination and retaliation.

157. Asa direct and proximate result of Defendant’s unlawful conduct, James is now
and Will continue to be unlawfully deprived of income in the form of wages, compensation, and
_ other monetary ahd non-monetary benefits due to ber, in an amount to be proven at trial.

158. As a result, James is entitled to have and recover all damages resulting from
Defendant's miscotiduct, in an amouit in excess of ten thousand dollars ($10,000.00), to be
proyen at trial, including compensatory, consequential, special, and punitive damages, back pay,
front pay, damages for emotidnal distress, prejudgment interest, and the costs of this action.

(Négligent Supervision)

  

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159. Plaintiff realleges and incorporates by reference the paragraphs above.

160. Deferdant, throngh its employees, witnessed and had knowledge of, or upon a
Teasonable investigation should have had knowledpe of, the racial harassment, intimidation,
hostile work, environment, discrimination and retaliation of Plaintiff, as described above.

161, Defendant, through its employees, breached its duty to Plaintiff by negligently
supérvising Team Manager, subjecting Plaintiff to the racial harassment, intimidation, hostile
work environment, discrimination, ahd retaliation of Team Manager, and failing to investigate,
addréss, ahd stop the hostile work environment, harassment, intimhidation, discrimination, and
retaliation by Team Manager.

162. Defendant’s acts of negligent, willful, and wanton conduct, through ‘its
Managernent employees or employees charged with conducting investigations in failing to
sUpervise,or properly investigate Team Manager are a direct and proximate cause of the injuries
and damages suffered by Plaintiff.

163. The acts and omissions committed by BAC, by and through its managers,
employees and agents, were willful; wanton, oppressive, interitional, conscious, and malicious,
and in déliberate disregard of James’ Tights.

164. Ia so acting, Defendant, through its employees and agents, éithet intetded to
Gause; or were recklessly indifferent to the likelihood that their conduct would cause, severe
emotional distress to James.

165. Defendant’s conduct, through their employees and agents, did, in fact, cause .
severe emotional distress to James, including depression, anxiety, diffienlty breathing, crying,
pain, personal. distress, difficulty thitiking, concentrating, sleeping, and fatigue for which she

attended outpatietit partial day treatment.

aA .

Case 3:12-cv-00818-MOC-DSC Document 1-1 Filed 12/11/12 Page 25 of 35
166. Defendant’s actions, through its employees and agents, as described above, were
intentional, outrageous and aggravated, and included actual malice, oppression, msult, rudeness,
itidigtity, and a reckless and wanton disregard of James’s rights and interests. As a result, James
ig entitled to an award of punitive damages. | |

167. Deferidant’s conduct, as described above, was without justification or excuse, was
repreliénsible, lasted throughout James’s eriployment, and occurred despite James’s complaints
to members of management and HR and her efforts to stop the harassment, intimidation,
discrimination and retaliation.

168. Plaintiff has been damaged arid is entitled to recover from Defendant
compensatory, consequential, special, and punitive damages, back pay, front pay, prejudgment
interest, damageés.for emotional distress, and the costs of this action in an amount in excess of ten
dougand dollars ($10,000) to be proven at trial.

COUNT BIVE
(Negligent Retention)

169. Plaiatiff realleges and incorporates by reference the paragraphs above,

170. Defendarit, through its managers, | employees, and agents, was negligent in
retaining Team Manager.by failing to use the ordinary care of a reasonable and prudent person
to: adequately investigate allegations regatding her raciaily harassing, intimidating, hostile,
discriminatory, and retaliatory conduct, consider her personal motivations; and protect Plaintiff
from: harm.

171. Defendant participated ih and condoned the unlawful activity of Team Manager
by failing to investigate afd cease het racially harassing, intimidating, hostile, discriminatory,
and jétaliatory conduct and acting in reliance on Team Manager’s defamatory and false

statements with a reckless disregard for the truth.

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172. Defendant's negligent retention of Team Manager was the proximate cause of
Plaintiff’s injuries. |

173. The acts and omissions committed by BAC, by and through its managers,
employees and:-agents, were willful, wanton, Oppressive, intentional, conscious, and malicious,
and in deliberate distegard of Iames’ ti ghts.

174. In so actirig, Defendant, through its émployees and agents, either intended to
case, or were recklessly indifferent to the likelihood that their conduct would cause, severe
emotional distress to James.

175. Defendant’s conduct, through their employees and agents, did, in fact, cause.
seVere emotional distress: to James, lricluding depression, anxiety, difficulty breathing, crying,
pain, personal distress, difficulty thinking, concentrating, sleeping, and fatigue for which she
attended outpatierit-partial day treatment. |

. 176. Defendant’s actions, through its. employes and agents, as described above, were
ifitentional, outrageous and aggravated, and included actual nialice, oppression, insult, rudeness,
indignity, and a-reckless and:‘wanton. disregatd of James's rights and interests. As a result, James
is entitled to an award of punitive damages.

177. Defendant’s conduct, as described above, was without justification or excuse, was
reprehensible, lasted throughout James’s employment, and occurted despite J ames's complaints
to fiietnbers of management and HR and her efforts to “stop the harassment, intimidation,
discrimination and retaliation.

178. Plaintiff has been damaged and is entitled to recover from Defeiidant

coimpensatory, coriséquential, special, and punitive damages, back pay, front pay, prejudgment

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interest, damages for emotional distress, and the costs of this action-in an amount in excess of ten
thousand dollars ($10;000) to be proven at trial.

COUNT SIX
(Negligent liifliction of Erttotional Distress)

 

179, Plaifitiffrealleges and incorporates by reference the paragraphs above.

180. Defendant was négligent in its failure to follow a duty of conduct imposed by law
and its failure to use ordinary care in its conduct toward James.

181. Defendant allowed Team Manager to harass, intimidate, discriminate, create a
hostile work environment, and retaliate against James because of her-race,

182. Defendant allowed Téarn Manager to treat black employees less favorably than .
white ertiployces.

183. Défendant allowed Team Manager to racially ‘segregate the white employees from
the. black. or minority employees. |

184. Defendant allowed Tearn Manager to verbally harass, intimidate, and berate
Tames, give James assignments with unreasonable deadlines, and instruct James to assist her
white coworkers with their workload preventing James from completing her own workload and
assignments.

185. Defendant alowed Team Manager to verbally and emotionally abuse James,
failed to instruct Tearn Manager to cease her abusive condhict, and failed to protect James from
Team. Manager’s abusive condhict despite James’ cormiplaints to Assistant Branch Manager and
Advice atid Counsel.

ER6, Defendant’s negligence was a proximate cause of James’ severe emotional

distress.

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187. The acts and omissions committed by BAC, by and through its managers,
employees and agents, were willful, wanton, oppressive, intentional, conscious, and malicious,
and in deliberate disregard of James’ rights, |

188. In so acting, Defendant, through its employees and agents, either intended to
cause, or were recklessly indifferent to the likelihood that their conduct would cause, severe
emotional distress to J ames. |

189, Defendant’s conduct, through their employees and agents, did, in fact, cause
severe emotional distress to James, including depression, anxiety, difficulty breathing, crying,
_ pain, personal distress, difficulty thinking, concentrating, sleeping, and fatigue for which she
atterided outpatient partial day treatment. |

190, | Defendant's actions, through its employees and agents, as described above, were
intentional, outrageous and aggravated, and included actual malice, oppression, insult, rudeness,
indigiity,and a reckless and wariton disregard of James’s rights and interests. As a result, James
is entitled to an award of punitive damages.

19]. Defendant’s conduct, as described above, was without justification or excuse, was
reprehensible, lasted throughout James’s employment, and occurred despite James’s complaints
to iembers of managéemént and HR afd her efforts to stop the harassment, intimidation,
discrimination and retaliation.

192, Plaintiff has been damaged and is entitled to recover from Defendant
cothpehsatory, consequential, special, and punitive damages, back pay, front pay, prejudgtent

interest, damages for emotional distress, and the costs of this action in an amount in excess of

ten thousand dollars ($10,000) to be proven at trial.

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Case 3:12-cv-00818-MOC-DSC Document 1-1 Filed 12/11/12 Page 29 of 35
WHEREFORE, Plaintiff respectfully prays the Coutt as follows:

1, Pursuant to Count One (Title VID), Plaintiff have and recover judgment against |
Defendants, jointly aiid severally, for compensatory, consequential, special, liquidated, and
puhitive darnages, reinstafement, injunctive relief to deter similar harassment, discrimination,
and: retaliation. in the future, back pay, front pay, darnages for emotional distress, prejudgment
interest, réasohable attorntys’ fees, and the costs of this action in an amount in excess of ten
thousand dollars ($16,000,009, to be proven at trial;

2, “Pursuant to Count Two (§ 1981), Plaintiff have and recover of the Deferidant,
datnages in eXCeSs of ten thousand dollars ($10,000.00), in an amount to be determined at trial,
includiig compensatory, consequential, special, liquidated, and punitive damages, reinstatement,
‘injunctive rélief to detér similar misconduct in the future, back pay, front pay, damages for
emotional distress, prejudgment interest, reasonable attorneys’ fees, and the costs of this action:

3, Pursuant to Coutt Three (Wrongful Termination in Violation of Ptiblic Policy),
Plaintiff have atid recover from Defendant damages in excess of ten thousdnd dollars
($10,600.00), in an amount to be determined at trial, including cottipensatory, consequential,
Special, and punitive damages, prejudgment interest, atid the costs of this action,

4, Pursuant to Count Four (Negligent Supervision), Plaintiff have and recover from
Defendant damages in excess of ten thousand dollars ($10,000.00) in an amount to be
 Getermiried at trial, including compénsatory, consequential, special, and punitive damages, back
pay, front pay, prej udgnient interest; damages for emotional distress, and the costs of this action:

5. Pursuant (6 Count Five (Negligent Retention), Plaintiff have and recover from

Defendant damages in excess of ten thousand dollars ($10,000.00) in an amount to be

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Case 3:12-cv-00818-MOC-DSC Document 1-1 Filed 12/11/12 Page 30 of 35
| determined at trial, inchiding compensatory, consequential, special, and punitive damages, back —

pay, front pay, prejudgment intetest, damages for emotional distress, and the costs of ‘this action;
6. - Pursuiant'to Count Six (Negligent Infliction 6f Emotional Distress), Plaintiff, have

| and. recovel from Defendant datages in excess of ten thousand déflars G10, 000. bo): in an

amount to be determined at trial, Inciusing compensatory, consequential special, and punitive

" damages for emotional distress, projudgmésit interest, and the costs of this action;.

| 7. : That this matter be tried by a jury, aid ’
wo 8. _ Such other and further relief as this Court ray deem j just, proper, ‘anid equitable.

Respectfully sibmite, this the 7 day of November, 3012.

"MALONEY LAW & ASSOCIATES, PLLC

 
 

_ Margaret Behringer Maloney, N, C: Bar No. ss
. Tamara L. Huckert; NC, Bar No: 35348,
1824 E. 7" Street
Charlotte, NC 28204

  

Telephone: SOEI 1622 .
.:. Facsimile: 704-632- 1623
“Attorneys for Plaintiff

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Case 3:12-cv-00818-MOC-DSC Document 1-1 Filed 12/11/12 Page 31 of 35
STATE OF NORTH CAROLINA IN THE GENERAL COURT OF JUSTICE

| SUPERIOR COURT DIVISION
COUNTY OF MECKLENBURG 12-CVS-
NBEERFITI JAMES,
Plaintiff,
v | VERIFICATION

BANK OF AMERICA CORPORATION,

___ Defendant,

STATE OF NORTH CAROLINA)

_ COUNTY OF MECKLENBURG _ )
BEFORE ME, the undersigned authorized authority, in and for said State and County,
personally appeared Nefestiti Jamés, wlio is known to me, and who, being by me first duly
sworn, déposes and says as follows: that the factual averments contained in the foregoing.

Verified Complaint are true aitd correct to the best of his knowledge, information and belief.

 

. SWORNLO ane ENoveriten hefore

 
   

   

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-00818-MOC-

CV

Case 3:12

  
i. wr

 

 

 

 

 

 

 

 

BANK OF AMERICA CORPORATION

STATE OF NORTH CAROLINA i Wa 7
Film No. 12CVS 19063
MECKLENBURG County
in The General Court Of Justice
L_) District ix] Superior Court Division

Name Of Plaintif :
NEFERTITI JAMES _ . DELAYED SERVICE

“VERSUS OF :
Name Of Defendant |

COMPLAINT

GS, 14-1, Rules 344

 

Name And Address Of Delendam 1

TO:

 

BANK OF AMERICA

c/o CT CORPORATION SYSTEM
150 FAYETTEVILLE ST,, BOX LOLI
RALEIGH, NC 2760]

| Narne And Address OF Defendant 2°

 

 

summons was issued. You must:
4.

You are being served with a capy of the complaint in this action, the delayed fi ing of which was ordered when the

Serve a copy of your written answer to the complaint upon the plaintiff or the plaintiffs attorney within thirty (20) days

after you have been served. You may serve your answer by delivering a copy to the plaintiff or the plaintiff's attorney or
by mailing a copy to one of them at his/her last known address.

2. File the original of the written answer with the Clerk of Superior Court of the county named above.

If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded’in th complaint,

 

Name And Address OF Plaintiff's Attorney (if None, Address Of Plaintiff)
Tamara L, Huckert

Maloney Law & Associates, PLLC
1824 East Seventh Street,
Charlotte, NC 28204

 

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Copy-Each Defendant Copy-Attorney/Plaintiff
(Over)

Case 3:12-cv-00818-MOC-DSC Document1-1 Filed 12/11/12 Page 34 of 35
. -)
. on

| RETURN OF SERVICE |
| certify that this Document and a copy of the Complaint were received and served as follows:

DEFENDANT 4
Date Served . oo Name Of Defendant

 

 

 

CO By delivering to the defendant named above a copy of this Document and Complaint

L) By leaving a copy of this Document and Complaint at the dwelling house or usual place of abode of the defendant named
above with a person of suitable age and discretion then residing therein.

person named below. .

Name And Address Of Person With Whom Copies Left (if corporation, give Title of parson copies left with}

CAs the defendant i is a corporation, service was effected by delivering a copy of this Document and Complaint to the

 

CJ Service Accepted By Defendant

 

 

 

 

 

Date Accepted Signature
(1 Other Manner Of Service (specify)
|] Defendant WAS NOT served for the following reason:
. DEFENDANT 2
Date Sened : Naine GF Defendant

 

 

 

["] By delivering to the defendant named above a copy of this Document and Complaint,

L_] By leaving a copy of this Document and Complalnt at the dwelling house or usual place of abode of the defendant named
above with a person of suitable age and discretlon then residing therein.

] As the defendant is a corporation, service was effected by delivering a copy of this Document and Complaint to the
person named below.

Name And Address Of Person With Whom Copies Left (corporation, give tiie of person copies felt with):

 

CO Service Acceptad By Defendant

 

 

 

 

 

 

 

Dale Accepied Signature
[_] Other Manner Of Service (specify)
(J Defendant WAS NOT served for the following reason:
Senice Fee Paid Dale Recover Namo Of Sherif
$
Poid By Date Of Returr Caunty
Deputy Sherif Making Retum °

 

 

 

AOQC-CV-103, Side Two, Rey. 3/98
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